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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

 KRISTALYN TALMER,                            )
                                              )
                         Petitioner,          )
                                              ) Docket no. 2:20-cr-00084-GZS
 v.                                           )           2:21-cr-00004-GZS
                                              )           2:22-cv-00104-GZS
 UNITED STATES OF AMERICA,                    )           2:23-cv-00110-GZS
                                              )
                         Respondent.          )
                                              )


                   ORDER ADOPTING RECOMMENDED DECISION


       On October 30, 2023, the United States Magistrate Judge filed with the Court his

Recommended Decision (ECF No. 167 in 2:20-cr-84 & ECF No. 45 in 2:21-cr-4). No objections

have been filed.

       It is therefore ORDERED that:

       1. The Recommended Decision (ECF No. 167/45) is hereby ADOPTED.
       2. An evidentiary hearing is not warranted under Rule 8 of the Rules Governing Section
           2255 cases.
       3. Petitioner’s Amended Motion for habeas relief pursuant to 28 U.S.C. § 2255 (ECF No.
           155/35) is hereby DENIED.
       A certificate of appealability pursuant to Rule 11 of the Rules Governing Section 2255

Cases is hereby DENIED because there is no substantial showing of the denial of a constitutional

right within the meaning of 28 U.S.C. § 2253(c)(2).

       SO ORDERED.

                                                      /s/ George Z. Singal
                                                      United States District Judge

Dated this 14th day of November, 2023.
